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 1                            UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF OHIO
 2                                  EASTERN DIVISION

 3
        UNITED STATES OF AMERICA,              )
 4                                             )   Case No. 5:20-cr-297-DCN
                        Plaintiff,             )
 5                                             )   Cleveland, Ohio
                 vs.                           )   Tuesday, August 2, 2022
 6                                             )   12:00 p.m.
        MATTHEW SLATZER,                       )
 7                                             )   SUPERVISED RELEASE VIOLATION
                     Defendant.                )   HEARING VIA VIDEOCONFERENCE
 8                                             )

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10
                        REPORTER'S TRANSCRIPT OF PROCEEDINGS
11
                        BEFORE THE HONORABLE DONALD C. NUGENT,
12                       SENIOR UNITED STATES DISTRICT JUDGE

13

14
          APPEARANCES:
15
          For the Plaintiff:
16
                 OFFICE OF THE U.S. ATTORNEY - AKRON
17               BY: TONI B. SCHNELLINGER FEISTHAMEL, AUSA
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20        (Appearances continued on Page 2)

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25        Proceedings reported by machine shorthand; transcript
          produced by computer-aided transcription.
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 1        APPEARANCES CONTINUED:

 2        For the Defendant:

 3               OFFICE OF THE FEDERAL PUBLIC DEFENDER - AKRON
                 BY: ALVARO DeCOLA, AFPD
 4               50 SOUTH MAIN STREET, SUITE 700
                 AKRON, OH 44308
 5               (330) 375-5739

 6        Also present:

 7               Jennifer Burke
                 Eric Sampson
 8               United States Pretrial Services and Probation Office.

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 1               CLEVELAND, OHIO; TUESDAY, AUGUST 2, 2022; 12:00 P.M.

 2                                         --oOo--

 3                                P R O C E E D I N G S

 4                         THE COURT:     We're here in Case Number

 5        20-cr-297.     It's titled United States vs. Matthew Paul

 6        Slatzer.

 7                         COURTROOM DEPUTY:       He just fell off.

 8                         THE COURT:     Well, there you go.

 9                         COURTROOM DEPUTY:       Mr. Slatzer fell off.

10                I know I saw him for a second.

11              (Brief pause in proceedings).

12                         THE COURT:     Now we're ready; right?

13                         COURTROOM DEPUTY:       Yeah, it's just connected.

14                         THE COURT:     Okay.    Mr. Slatzer, can you hear

15        me?

16                         THE DEFENDANT:      Yes, sir.     I was trying to

17        figure out the audio.

18                         THE COURT:     Yeah.    Somehow you dropped off.         I

19        don't know.

20                What happened to that beard?

21                         THE DEFENDANT:      Oh, I shaved it off.

22                         THE COURT:     Okay.    You look like a different

23        guy.

24                         THE DEFENDANT:      Yeah.

25                         THE COURT:     Okay.    We're here in Case Number
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 1        20-cr-297.     It's titled United States vs. Matthew Paul

 2        Slatzer and we're here for an allegation of supervised

 3        release violation.       And we have -- we're doing this by video

 4        for COVID reasons.

 5               And we have participating here the -- Mr. Slatzer.

 6        You're at home -- right? -- Matthew?

 7                         THE DEFENDANT:      Correct.

 8                         THE COURT:     All right.     And we have his

 9        attorney, Mr. Alvaro DeCola; as well as the United States

10        Attorney, Ms. Toni Schnellinger Feisthamel; and we have two

11        representatives of the Probation Department, Jennifer Burke

12        and Eric Sampson; and we also have the court reporter,

13        Ms. Heather Newman.

14               Now, the -- as you should know, Mr. Slatzer, the

15        Probation Department is under an obligation under orders of

16        the Court if there's any potential violation to the terms of

17        supervised release they are required to notify me.              And I

18        received a notification that you had gone to your

19        girlfriend's house against the directives of the supervising

20        probation officer and if that, in fact, is true, that could

21        be a violation of the terms of supervision, and there's some

22        other issues that have raised its ugly head as well, so

23        that's why we're here.

24               You understand that?

25                         THE DEFENDANT:      Yes.
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 1                         THE COURT:     Okay.    Then, Mr. DeCola, what is

 2        your pleasure, sir?

 3                         MR. DeCOLA:     Judge, good afternoon.        I -- I

 4        have reviewed the allegation with Mr. Slatzer, and he admits

 5        that he did go to her house.          However, he tells me that at

 6        the time there was no Restraining Order or Protection Order

 7        of any sort and -- you know, so, if anything, he admits that

 8        he went to his -- to her house.

 9                         THE DEFENDANT:       To see my kids.     Not to see

10        her.

11                         THE COURT:     No.    I got that.

12             (Simultaneous crosstalk).

13                         THE COURT:     You can't do it without the

14        express -- hang on.

15               Do you have a court order on that or anything?                 Is

16        there -- on your -- were you married to this lady?

17                         THE DEFENDANT:       No.   We just have children in

18        common.

19                         THE COURT:     All right.     Is there a domestic

20        relations order on custody or visitation or anything?

21                         THE DEFENDANT:       So I have a court date coming

22        up August 8th in regards to visitation.            I was just trying

23        to make a final attempt to. . . see my kids without going

24        through the court.

25                         THE COURT:     No.    I get you.
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 1               So you're telling me that the way it's situated right

 2        now is that your ex-girlfriend has custody of the two

 3        children?

 4                         THE DEFENDANT:      Correct.

 5                         THE COURT:     And that there's no domestic

 6        relations order on visitation?

 7                         THE DEFENDANT:      No.

 8                         THE COURT:     So you were just doing it how you

 9        two would have come to an agreement on it?

10                         THE DEFENDANT:      Correct.

11                         THE COURT:     Well, did you file something in

12        domestic relations or did she?

13                         THE DEFENDANT:      I did.

14                         THE COURT:     All right.     So you have a hearing

15        on August the 8th --

16                         THE DEFENDANT:      Yes.

17                         THE COURT:     -- is that right?

18                         THE DEFENDANT:      Yes, sir.

19                         THE COURT:     Do you have a lawyer for that?

20                         THE DEFENDANT:      No.    I can't afford one.

21                         THE COURT:     Okay.    So you're going to go

22        there, and what do you want to be the outcome?

23                         THE DEFENDANT:      I would like to see my kids on

24        a regular basis and establish a good rapport and a good

25        relationship with them.
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 1                         THE COURT:     Okay.    So you're just hoping that

 2        the Domestic Relations Court will issue some type of

 3        visitation order so you can have regular -- or you know when

 4        the times are that you can be with your children?

 5                         THE DEFENDANT:      Yes, sir.

 6                         THE COURT:     How old are they?

 7                         THE DEFENDANT:      My son's 8 and my daughter is

 8        12.

 9                         THE COURT:     Okay.    Do you pay support?

10                         THE DEFENDANT:      Not yet.

11                         THE COURT:     Well, you better start paying

12        support.    I'm not sure how much the -- domestic relations is

13        going to take that if you're not paying anything to support

14        them.

15                Well, you know that.

16                         THE DEFENDANT:      Yeah.

17                         THE COURT:     Okay.    All right.     But, anyway,

18        there was a -- this is a note that I have.            I guess it was

19        just a bad idea because according to the information that

20        was gathered by the Probation Department is that your ex had

21        previously informed you that she wanted no contact and

22        blocked your phone number and she claims that she's afraid

23        of you and so she wants no contact.           So until there's a

24        different order of the court from the domestic relations,

25        which I have to say doesn't supersede any order that I would
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 1        issue here today, but you have a -- there's a No Contact

 2        Order in effect until there may be some change in domestic

 3        relations and if there is, then Ms. Burke or Mr. Sampson can

 4        notify me and I can decide whether I'm going to modify my

 5        order.

 6                 Are you with me on that, Matt?

 7                         THE DEFENDANT:      Yes, sir.

 8                         THE COURT:     Okay.    And the other thing is,

 9        what are you painting on all these signs and whatnot on your

10        house?

11                         THE DEFENDANT:      So the artwork was removed.          I

12        know it says in the. . . violation report that it was

13        removed July 14th.       That was either a misprint on the

14        Probation end, but it was removed July -- or June 13th -- or

15        June 14th.     I apologize.

16                         THE COURT:     Okay.    Now, here, the problem is

17        that comes as a result of that, especially in the times that

18        we're living in, you're entitled to your own personal

19        opinion, no question about that, but if you're on

20        supervision in federal court, you can't express that, pardon

21        me, or associate with people who pledge any kind of

22        anti-Semitic or anti-Black or anti-LGBTQ activity because

23        you're on supervision.        In other words, you have to live

24        like Caesar's wife while you're on supervision.              If you

25        don't understand that, Jennifer will explain it to you, what
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 1        that means.

 2               But I'm going to continue you on supervision, but you

 3        do have a contact restriction and I'm going to modify the

 4        terms of supervision in that way.          You also have to

 5        submit -- you're subject to a computer-monitoring search at

 6        the discretion of the -- your supervising officer.

 7               And the only last thing I'm going to say is that, you

 8        know, you have to also participate -- and, now, this is a

 9        new thing for me, but it's in a de-radicalization program

10        and so that -- the only thing I'm going to suggest to you,

11        Matt, is follow up with what your probation officer says.

12        There's nothing bad in there, it's all good, it's all

13        positive.     If you take advantage of it, it may give you some

14        insight about yourself and hopefully keep your children safe

15        and your ex safe.

16               But any violation of these orders, the Probation

17        Department, either Mr. Sampson or Ms. Burke, or otherwise,

18        has an obligation to notify me immediately.

19               And my initial reaction normally to these violations

20        is that I issue a warrant because I figure if somebody's on

21        supervision and they may be violating a term or condition of

22        supervision, then I got to get them locked up as soon as

23        possible so there's no harm done in the future.              The

24        Probation Department didn't ask -- asked me not to do that.

25        They think you have a -- you -- there's a lot of positive in
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 1         you so they said don't -- don't lock him up at this point

 2         anyway, just send a summons, and so that's what I did.                And

 3         sometimes it's against my better judgment, but this time I

 4         followed their advice.       So the only thing I'm saying to you,

 5         Matt, is pay attention to what your supervising officers say

 6         and also pay attention to what Mr. DeCola tells you and we

 7         won't have a problem.

 8                Does that sound reasonable?

 9                          THE DEFENDANT:      Yes.   Sounds reasonable.

10                          THE COURT:     Okay.    And are you --

11         Probation Department will go over all the stuff with you and

12         then if there's -- something changes about the No Contact

13         Order from domestic relations, Ms. Burke or Mr. Sampson will

14         notify me right away and if there's a -- that calls for a

15         modification in your supervision order, I'll take that under

16         consideration right away.        Okay?

17                So let them know what's going on with that.

18                          THE DEFENDANT:      So just real quick.       You know,

19         it says White Lives Matter is a hate group.

20                          THE COURT:     Say that again.

21                          THE DEFENDANT:      It says in the violation

22         report that White Lives Matter is a designed hate group.

23                          THE COURT:     You know, I'm sorry, I didn't

24         quite hear you again.

25                          THE DEFENDANT:      It says in the violation
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 1         report that White Lives Matter is a designed hate group.

 2                          THE COURT:     Yeah, I don't think that is.          I

 3         don't.

 4                          THE DEFENDANT:      Well --

 5                          THE COURT:     I am with you on that in that

 6         regard.    I don't know how one group can say that they're pro

 7         something and another group, they say the same thing, it's

 8         somehow a hate group.       No, it's not.

 9                          THE DEFENDANT:      Okay.    So White Lives Matter

10         I'm allowed to --

11              (Simultaneous crosstalk).

12                          THE COURT:     Yes.

13                          THE DEFENDANT:      -- stand with the sign that

14         says White Lives Matter.

15                          THE COURT:     Yeah.   I didn't even know there

16         was such a group.

17                          THE DEFENDANT:      Yeah.    Okay.

18                          THE COURT:     I mean, that's kind of like, as

19         they say, blue lives matter, police lives matter.             Some

20         people say that's a hate group.         Well, they should have

21         their head examined for saying that.

22                          THE DEFENDANT:      Right.

23                  And then the signs I have up there are political in

24         nature.    They just have politicians that happen to be Jewish

25         on them.
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 1                          THE COURT:     I know, but --

 2                          THE DEFENDANT:      It's not anti-Semitic.

 3                          THE COURT:     It's not?

 4                          THE DEFENDANT:      They're just politicians.

 5                          THE COURT:     Where are they politicians?

 6                          THE DEFENDANT:      They're senators and

 7         different -- I can show you the signs if you want.

 8                          THE COURT:     But, I mean -- but they're all

 9         Jewish; right?

10                          THE DEFENDANT:      Well, they -- yeah.       I mean,

11         they are Jewish.

12                          THE COURT:     Yeah.   I -- you got to take -- you

13         got to take those down.

14                          THE DEFENDANT:      Okay.

15                          PROBATION OFFICER BURKE:        Your Honor. . .

16                          THE DEFENDANT:      Will do.

17                          PROBATION OFFICER BURKE:        We have identified

18         the current White Lives Matter as a white supremacist group.

19         It's on the Southern Poverty Law Center website as an

20         identified --

21                          THE COURT:     Well, I -- Toni [sic], I'm going

22         to stop you right there.        Southern Poverty Law Center is one

23         of the most vocal hate groups I've ever come across so I

24         take nothing what they say.

25                          PROBATION OFFICER BURKE:        Thank you, Judge.
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 1                 And in terms of the posters on his house, they're

 2         pretty offensive.      They're not benign posters.

 3                          THE COURT:     Yeah.   He's going to take them

 4         down.

 5                          PROBATION OFFICER BURKE:        Thank you,

 6         Your Honor.

 7                          THE COURT:     Yeah.   And, Ms. Burke or

 8         Mr. Sampson, if there's any issues or any difficulty coming

 9         up, just let me know.

10                          PROBATION OFFICER BURKE:        Yes, Judge.

11                          THE COURT:     Okay, folks.     I appreciate your

12         patience with us.

13                 Thank you.

14                          PROBATION OFFICER BURKE:        Thank you.

15              (Proceedings adjourned at 12:14 p.m.)

16

17                                 C E R T I F I C A T E

18               I certify that the foregoing is a correct transcript
           of the record of proceedings in the above-entitled matter
19         prepared from my stenotype notes.

20                       /s/ Heather K. Newman                          9-2-2022
                         HEATHER K. NEWMAN, RMR, CRR                      DATE
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